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                    UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

In re-                                  §
                                        §
OFFSHORE SPECIALTY                      §       Case No. 17-35623
FABRICATORS, LLC,                       §
                                        §       (Chapter 11)
                     DEBTOR             §

 PLAINTIFF, KLEIN INVESTIGATIONS AND CONSULTING, A DIVISION OF KLEIN
     INVESTMENTS, INC.'S WRITTEN OBJECTIONS TO THE DISCLOSURE
   STATEMENT IN SUPPORT OF THE PLAN OF LIQUIDATION FOR OFFSHORE
                     SPECIALTY FABRICATORS, LLC
TO THE HONORABLE JUDGE OF SAID COURT:

         Plaintiff, Klein Investigations and Consulting, a Division of Klein

Investments, Inc. (Klein), files these Written Objections to the Disclosure

Statement in Support of the Plan of Liquidation for Offshore Specialty

Fabricators, LLC (Debtor), and would show the Court as follows:

1.       Klein objects, because it has not been fully identified as a creditor of the

Debtor hi this case. The current identification is merely "Klein Investigations

& Consulting." There is no address listed, and there is no acknowledgment of

Klein's representation by counsel. Klein should be identified fully as:

         Klein Investigations & Consulting, a Divisionof
         Klein Investments, Inc.
         822 Nederland Avenue

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     Nederland, Texas 77627
     c/o Attorney John S. Morgan
     Morgan Law Firm
     2175 North Street, Ste. 101
     Beaumont, Texas 77701
      (409) 239-5984
     jmorganCo)]' smorganlaw.com

2.    Klein further objects, because on information and belief, Debtor has not

identified all of the assets of Offshore. Specifically, Offshore owns a yacht,

once owned by former President John F. Kennedy, called the "Honey Fitz."

Attached as Exhibit "1" are the registration documents demonstrating it is an

asset of this Debtor. Klein is not aware whether this yacht has been fully paid

for, and Klein is not aware of any hens on Debtor's yacht.

3.    Based on Klein's good faith information and belief, this yacht is currently

operating in business and generating approximately $25,000.00 per month in

revenue for this Debtor, and Klein does know whether this income and the

value of this asset has been properly reported by Debtor in this bankruptcy.

This may materially affect the value of Debtor's assets to be distributed to the

creditors pursuant to the Plan of Liquidation.

4.    Accordingly, Klein Investigations & Consulting, a Division of Klein

Investments, Inc., prays that this Court acknowledge its objections to the
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Plaintiff liquidation of Debtor, and order Debtor acknowledge and correct these

deficiencies identified herein, and grant Klein Investigations and Consulting,

a Division of Klein Investments, Inc. such other and further relief, at law or in

equity, to which it may be entitled.

                                            Respectfully submitted,

                                           fsf John S. Morgan
                                            JOHN S. MORGAN
                                           State Bar No. 14447475
                                           Morgan Law Firm
                                           2175 North Street, Suite 101
                                           Beaumont, Texas 77701
                                           (409) 239-5984
                                           (409) 895-2839 facsimile
                                           Jmorgan(a)j smorganlaw.com
                                           Attorney for Plaintiffs



                           CERTIFICATE OF SERVICE
      This hereby certify that a true and correct copy of the 'foregoing
document has been provided to all parties of record, via electronic filing on this
12th day of July, 2018.
                                           I si John S. Morgan
                                            JOHN S. MORGAn
